Case 6:15-cv-06760-CJS-MWP Document 29-3 Filed 03/30/18 Page 1 of 7




                       EXHIBIT B
               Plaintiff Attorneys’ Time Records
                     Case 6:15-cv-06760-CJS-MWP Document 29-3 Filed 03/30/18 Page 2 of 7

                                               ACTIVITY FOR CASE: GINA KASE
                                                  MARCH 2015 - PRESENT

     ADVOCATE            DATE      HOURS                                             ACTIVITY

Nicolas, Elizabeth      03/11/15     1.00 Pre-litigation work re: Gina Kase; review intake notes; research potential legal claims against
                                          Serenity Homecare
Nicolas, Elizabeth      04/15/15     0.20 Email Gina Kase re: hours worked at Serenity Homecare
Nicolas, Elizabeth      05/26/15     3.00 Legal Research Issue: research FLSA companionship exemption and related regulations/case
                                          law
Nicolas, Elizabeth      05/28/15     0.30 Draft letter to Gina Kase re: companionship exemption
Nicolas, Elizabeth      05/28/15     0.20 Telephone call with Gina Kase re: companionship exemption and job duties
Nicolas, Elizabeth      06/01/15     0.70 Meeting with Gina Kase re: timesheets, paystubs, job duties and companionship exemption

Nicolas, Elizabeth      06/08/15     0.50   Pre-litigation Work Re: Gina Kase; develop and draft c ase strategy and plan
Nicolas, Elizabeth      06/12/15     0.10   Telephone call with Gina Kase re: affidavit
Nicolas, Elizabeth      06/22/15     1.20   Draft affidavit re: Kase employment experience
Nicolas, Elizabeth      06/22/15     2.00   Interview Gina Kase for affidavit re: employment at Serenity Homecare, homecare clients and
                                            duties
Nicolas, Elizabeth      06/30/15     0.40   Legal research issue: companionship exemption under NYLL
Nicolas, Elizabeth      07/09/15     1.20   Draft Kase complaint re: legal claims against Serenity; statement of facts
Nicolas, Elizabeth      07/22/15     0.40   Draft Kase complaint re: legal claims against Serenity; statement of facts
Nicolas, Elizabeth      08/05/15     0.70   Draft Kase complaint re: FLSA claims against Serenity
Nicolas, Elizabeth      08/12/15     1.20   Draft Kase complaint re: FLSA and NYLL claims against Serenity
Nicolas, Elizabeth      08/12/15     0.30   Telephone call with Gina Kase re: complaint against Serenity Hom ecare
Nicolas, Elizabeth      08/26/15     0.40   Draft Kase complaint re: legal claims against Serenity
Nicolas, Elizabeth      08/31/15     2.50   Draft Kase affidavit re: Kase work duties with Serenity clients
Nicolas, Elizabeth      09/02/15     3.40   Draft Kase complaint re: legal claims against Serenity
Nicolas, Elizabeth      09/25/15     1.00   Edit & Revise Kase complaint; applied PD edits
Nicolas, Elizabeth      09/25/15     0.80   Legal Research Issue: NYS record keeping requirement s
Nicolas, Elizabeth      09/25/15     0.20   Telephone Call With: Gina Kase Re: complaint draft
Nicolas, Elizabeth      09/30/15     1.00   Prepare for What: Kase client meeting re: compla int
Nicolas, Elizabeth      09/30/15     2.50   Meeting with Gina Kase re: review complaint; discuss in forma pauperis; review consent for
                                            FLSA action
Nicolas, Elizabeth      10/25/15     3.30   Legal Research Issue: spread of hours pay
Nicolas, Elizabeth      10/31/15     1.00   Meeting with Gina Kase re: timesheets
Nicolas, Elizabeth      11/03/15     1.80   Review Gina Kase timesheets; enter hours into excel document for damages calculations

Nicolas, Elizabeth      11/11/15     3.80 Review Gina Kase timesheets; enter work hours into excel document for damages
                                          calculations; continue work on damages calculations
Nicolas, Elizabeth      11/18/15     1.50 Legal Research Issue: spread of hours for home health care workers
Nicolas, Elizabeth      11/18/15     4.00 Review Kase timesheets; calculate spread of hours damages
Nicolas, Elizabeth      11/20/15     3.50 Review Kase timesheets; continue work on Kase spread of hour damages
Nicolas, Elizabeth      11/24/15     4.70 Review Kase timesheets; calculate Kase spread of hours damages
Nicolas, Elizabeth      11/25/15     5.00 Review Kase timesheets; calculate Kase damages
Nicolas, Elizabeth      11/25/15     0.80 Meeting with Peter Dellinger re: Kase calculations/damages
Nicolas, Elizabeth      11/25/15     4.50 Legal Research Issue: travel time damages for homecare workers and travel/gas
                                          reimbursement rules
Nicolas, Elizabeth      12/07/15     1.00 Travel to/from Gina Kase home re: meeting re: timesheets and damages
Nicolas, Elizabeth      12/07/15     2.00 Meeting with Gina Kase re: timesheets; damages calculations; travel time claims/damages

Nicolas, Elizabeth      12/09/15     0.80 Edit & Revise Kase complaint
                     Case 6:15-cv-06760-CJS-MWP Document 29-3 Filed 03/30/18 Page 3 of 7
Nicolas, Elizabeth      12/10/15   1.60   Edit & Revise Kase complaint
Nicolas, Elizabeth      12/14/15   3.00   Legal Research Issue: travel time
Nicolas, Elizabeth      12/14/15   0.30   Review Kase timesheets; calculate Kase travel time
Nicolas, Elizabeth      12/15/15   1.00   Review Kase timesheets; calculate Kase travel time damages
Nicolas, Elizabeth      12/16/15   1.00   Travel to/from Gina Kase home re: travel time damages
Nicolas, Elizabeth      12/16/15   0.50   Meeting with Gina Kase re: travel time damages
Nicolas, Elizabeth      12/17/15   1.00   Review timesheets and calculate Kase travel time
Nicolas, Elizabeth      01/13/16   1.30   Telephone call with Gina Kase re: travel time calculations
Nicolas, Elizabeth      01/13/16   0.10   Email Gina Kase re: complaint and filing fee
Nicolas, Elizabeth      01/25/16   0.10   Review defendants' waiver of service of summons
Nicolas, Elizabeth      01/25/16   0.60   Prepare and file defendants' proof of service in WDNY
Nicolas, Elizabeth      01/27/16   0.10   Telephone call with Gina Kase re: Serenity "When to Work" emails
Nicolas, Elizabeth      01/27/16   0.50   Telephone call with Gina Kase re: Serenity "When to Work" emails
Nicolas, Elizabeth      02/02/16   0.10   Telephone call with Jill Schultz re: stipulation to extend answer due date from Feb 19 2016
                                          to March 25 2016 ; scheduling settlement discussion in March 2016
Nicolas, Elizabeth      02/02/16   0.30   Telephone call with Gina Kase re: extension to answer and possible settlement meeting in
                                          March; also discussed Gina receiving "When to Work" emails
Nicolas, Elizabeth      02/10/16   1.00   Review settlement strategy for Kase c ase
Nicolas, Elizabeth      02/12/16   0.40   Telephone call with Gina Kase re: defendants' assets, settlement update and receipt of
                                          "when to work" emails
Nicolas, Elizabeth      03/07/16   0.80   Review timesheets; work on Kase damages calculations
Nicolas, Elizabeth      03/07/16   5.00   Prepare for Kase v. Serenity settlement meeting/review damages and client documents

Nicolas, Elizabeth      03/08/16   5.00 Prepare for Kase v. Serenity settlement meeting/review damages and client documents

Nicolas, Elizabeth      03/09/16   1.00 Meeting with Jill Schultz re: Kase v. Serenity settlement negotiation
Nicolas, Elizabeth      04/11/16   0.20 Telephone call with Gina Kase re: damages calculations and potential settlement possibilities

Nicolas, Elizabeth      04/11/16   2.60 Review timesheets; damages calculations for settlement purposes; selecting workweeks by
                                        worksite
Nicolas, Elizabeth      04/12/16   0.40 Telephone call with Gina Kase re: damages calculations at each worksite
Nicolas, Elizabeth      04/14/16   4.40 Review timesheets; work on Kase worksite damages calculations
Nicolas, Elizabeth      04/15/16   2.00 Review Kase calculations for settlement negotiation letter
Nicolas, Elizabeth      04/15/16   1.50 Draft letter to Jill Schultz re: settlement negotiations/worksites
Nicolas, Elizabeth      05/20/16   3.00 Legal Research Issue: private home issue under companionship exemption
Nicolas, Elizabeth      05/20/16   3.00 Legal Research Issue: DOL regulations on companionship exemption/applicability of
                                        exemption at different worksites
Nicolas, Elizabeth      05/22/16   3.00 Legal Research Issue: DOL regulations re companionship exemption and worksites

Nicolas, Elizabeth      05/23/16   2.70 Legal Research Issue: companionship exemption applic ability at different worksites; private
                                        homes, nursing homes etc.
Nicolas, Elizabeth      05/24/16   1.00 Legal Research Issue: companionship exemption + worksites
Nicolas, Elizabeth      05/25/16   2.00 Legal Research Issue: rules re: homecare worksites
Nicolas, Elizabeth      05/25/16   1.00 Draft letter to Jill Schultz re: settlement negotiations/worksites
Nicolas, Elizabeth      05/25/16   2.00 Review Serenity Homecare payroll documents
Nicolas, Elizabeth      05/26/16   1.40 Review Serenity Homecare payroll documents
Nicolas, Elizabeth      05/30/16   1.00 Review Serenity Homecare payroll documents
Nicolas, Elizabeth      05/31/16   0.20 Telephone call with Gina Kase re: status of settlement negotiations; inapplicabiltiy of
                                        exemption outside of private homes
Nicolas, Elizabeth      05/31/16   2.00 Review payroll documents submitted by Serenity's defense counsel
Nicolas, Elizabeth      06/15/16   0.80 Review defendants' assets
Nicolas, Elizabeth      06/15/16   1.00 Draft letter to Jill Schultz re: defendants' assets/settlement negotiation
Nicolas, Elizabeth      06/20/16   0.50 Investigation re: defendants' assets
                     Case 6:15-cv-06760-CJS-MWP Document 29-3 Filed 03/30/18 Page 4 of 7
Nicolas, Elizabeth      06/20/16   0.50 Draft letter to Jill Schultz re: defendants' assets/settlement negotiations
Nicolas, Elizabeth      06/21/16   0.40 Telephone call with Gina Kase re: defendants' letter re: financial situation; settlement
                                        options/strategy
Nicolas, Elizabeth      06/21/16   2.10 Draft letter to Jill Schultz re: defendants' finances
Nicolas, Elizabeth      06/28/16   1.00 Review Serenity answer to Kase complaint
Nicolas, Elizabeth      06/28/16   1.00 Review ADR process rules
Nicolas, Elizabeth      06/29/16   0.20 Telephone call with Gina Kase re: defendants' answer to complaint
Nicolas, Elizabeth      06/30/16   2.00 Legal Research Issue: case jurisdiction
Nicolas, Elizabeth      07/28/16   1.50 Draft joint proposed discovery plan re: parties' schedule for discovery and motion practice

Nicolas, Elizabeth      07/28/16   1.50   Legal Research Issue: discovery protective orders
Nicolas, Elizabeth      07/28/16   0.20   Telephone call with Gina Kase re: discovery plan
Nicolas, Elizabeth      08/23/16   0.80   Prepare for 16b Conference; draft case timeline; review relevant case documents
Nicolas, Elizabeth      08/23/16   0.30   Meeting with Judge Payson and Jill Schultz re: 16b Conference
Nicolas, Elizabeth      09/19/16   0.10   Telephone call with Jill Schultz re: mediator
Nicolas, Elizabeth      09/19/16   0.20   Email T. Andrew Brown re: availability for mediation
Nicolas, Elizabeth      09/28/16   0.20   Telephone call with Gina Kase re: Motion for Waiver of ADR Fee
Nicolas, Elizabeth      10/13/16   0.20   Telephone call with Gina kase re: ADR waiver; mediation extension and settlement

Nicolas, Elizabeth      11/10/16   0.10 Telephone call with Jayla Lombardo re: mandatory disclosures and extension of time for first
                                        mediation session
Nicolas, Elizabeth      11/22/16   0.30 Telephone call with Gina Kase re: mediation dates; waiver of mediation fee and mediation

Nicolas, Elizabeth      12/06/16   0.10   Email Jayla Lombardo re: selection of mediation date
Nicolas, Elizabeth      12/14/16   0.10   Email Jayla Lombardo re: mandatory disclosures and mediation scheduling
Nicolas, Elizabeth      12/14/16   0.10   Email T. Andrew Brown/mediator re: scheduling mediation
Nicolas, Elizabeth      12/19/16   0.10   Email opposing counsel, J Lombardo, re: scheduling mediation
Nicolas, Elizabeth      12/21/16   0.10   Email J. Lombardo, opposing counsel, re: damages calculations from March 2016 settlement
                                          discussions with Jill Schultz
Nicolas, Elizabeth      12/22/16   0.20   Telephone call with Gina Kase re: mediation and mandatory disclosures
Nicolas, Elizabeth      12/22/16   0.10   Email Gina Kase re: mediation and mandatory disclosures questions
Nicolas, Elizabeth      12/26/16   1.70   Draft mandatory disclosures re: discoverable information
Nicolas, Elizabeth      12/26/16   1.20   Draft Kase mediation statement re: legal issues in case/damages
Nicolas, Elizabeth      01/06/17   0.90   Telephone call with Gina Kase re: mandatory disclosures and mediation statement

Nicolas, Elizabeth      01/07/17   3.30 Review Document(s) What: client documents for mediation statement
Nicolas, Elizabeth      01/07/17   3.70 Draft Kase mediation statement re: case legal theories and damages
Nicolas, Elizabeth      01/07/17   1.20 Draft mandatory disclosures re: documents supporting claims
Nicolas, Elizabeth      01/08/17   5.50 Draft Kase mediation statement re: legal theories and damages
Nicolas, Elizabeth      01/09/17   5.70 Draft Kase mediation statement re: legal theories and damages
Nicolas, Elizabeth      01/09/17   3.00 Review client documents for mediation statement
Nicolas, Elizabeth      01/10/17   3.00 Review defendants' mandatory disclosures
Nicolas, Elizabeth      01/10/17   2.00 Draft Plaintiff mandatory disclosures re: documents used to support claims
                        01/10/17   3.00 Draft damages documents based on plaintiff's records and defendants' records
Nicolas, Elizabeth      01/11/17   2.00 Edit & Revise Kase mediation statement
Nicolas, Elizabeth      01/11/17   0.10 Telephone call with Jayla Lombardo re: mandatory disclosures
Nicolas, Elizabeth      01/11/17   0.20 Email T. Andrew Brown re: mediation statement & exhibits
Nicolas, Elizabeth      01/16/17   3.00 Review Kase timesheets; calculate dam ages based on workweeks where exemption did not
                                        apply because of worksite
Nicolas, Elizabeth      01/17/17   2.00 Review defendants' additional payroll records sent on 1/17/17 at 4:30pm/day before
                                        mediation
Nicolas, Elizabeth      01/17/17   1.50 Meeting with Gina Kase re: prep for mediation/settlement
                     Case 6:15-cv-06760-CJS-MWP Document 29-3 Filed 03/30/18 Page 5 of 7
Nicolas, Elizabeth      01/17/17   3.50 Prepare mandatory mediation; draft opening statement; damage summary for mediator

Nicolas, Elizabeth      01/18/17   2.00   Meeting with opposing counsel and mediator re: mandatory mediation
Nicolas, Elizabeth      01/19/17   1.00   Meeting with P Dellinger re: debrief of mediation/discovery
Nicolas, Elizabeth      01/24/17   0.40   Telephone call with Gina Kase re: settlement and defendants' assets
Nicolas, Elizabeth      01/25/17   1.50   Draft Plaintiff's first request for production of documents re discovery
Nicolas, Elizabeth      02/22/17   2.00   Draft Plaintiff's First Set of Interrogatories re: case related discovery
Nicolas, Elizabeth      02/24/17   0.40   Meeting with P Dellinger re: edits to first set of interrogatories
Nicolas, Elizabeth      02/24/17   0.50   Edit & Revise first set of interrogatories
Nicolas, Elizabeth      02/27/17   0.10   Draft letter to J Lombardo re: first set of interrogatories
Nicolas, Elizabeth      02/27/17   0.10   Draft email to J Lombardo re: first set of interrogatories
Nicolas, Elizabeth      02/27/17   0.30   Edit & Revise first set of interrogatories
Nicolas, Elizabeth      03/29/17   0.10   Email Jayla Lombardo re defendants' deliquent discovery responses
Nicolas, Elizabeth      04/10/17   1.20   Draft notices of deposition re: Serenity Homecare 30b6, Linda Rowland and Norene Vorhis

Nicolas, Elizabeth      04/10/17   0.10 Email Jayla Lombardo re: notices of deposition
Nicolas, Elizabeth      04/10/17   0.10 Email Jayla Lombardo re: defendants' discovery requests
Nicolas, Elizabeth      04/11/17   0.30 Status conference with Judge Payson
Nicolas, Elizabeth      04/13/17   0.10 Email Jayla Lombardo re: interrogatories and deposition for Linda Rowland and Norene
                                        Vorhis
Nicolas, Elizabeth      04/18/17   0.10 Email Jayla Lombardo re: defandants' interrogatories overdue; defendants' depositions need
                                        to be scheduled
Nicolas, Elizabeth      04/20/17   0.20 Email Jayla Lombardo re: fact discovery extension and delayed interrogatories
Nicolas, Elizabeth      04/21/17   0.10 Email Jayla Lombardo re: request for extension on discovery and dispositive motions

Nicolas, Elizabeth      04/21/17   0.40   Draft letter to Judge Payson re: extension of discovery and motion deadlines
Nicolas, Elizabeth      04/21/17   0.10   Edit & Revise letter to J Payson re: extension
Nicolas, Elizabeth      04/21/17   0.20   Prepare/fax filings to opposing counsel
Nicolas, Elizabeth      04/28/17   0.30   Email Jayla Lombardo re: defendants' discovery delay and potential motion to compel

Nicolas, Elizabeth      04/28/17   0.10 Telephone call with Jayla Lombardo re: discovery delay; defendants agreed to send over the
                                        interrogatories
Nicolas, Elizabeth      05/01/17   0.10 Email Jayla Lombado re: plaintiff's second set of interrogatories and request for production
                                        of documents
Nicolas, Elizabeth      05/01/17   0.80 Draft 2nd request for production of documents re: discovery/defendants' finances

Nicolas, Elizabeth      05/01/17   1.40 Draft 2nd set of interrogatories re: discovery/defendants' tax documents
Nicolas, Elizabeth      05/04/17   0.10 Telephone call with Gina Kase re: deposition for Gina Kase, Rene Vorhis and Linda Rowland

Nicolas, Elizabeth      05/05/17   0.10   Email Jayla Lombardo re: depositions
Nicolas, Elizabeth      05/15/17   0.80   Meeting with Maggie Robb re: deposition prep
Nicolas, Elizabeth      05/16/17   0.40   Meeting with Maggie Robb re: deposition prep
Nicolas, Elizabeth      05/16/17   0.20   Draft letter to Gina Kase re: deposition
Nicolas, Elizabeth      05/16/17   0.20   Email Gina Kase re: depositions
Nicolas, Elizabeth      05/19/17   3.50   Review responses to request for production of documents
Nicolas, Elizabeth      05/20/17   8.00   Prepare for Norene Vorhis deposition; review discovery documents
Nicolas, Elizabeth      05/21/17   6.00   Prepare for depositions; review discovery documents
Nicolas, Elizabeth      05/22/17   2.00   Meeting with Gina Kase to prepare for deposition
Nicolas, Elizabeth      05/23/17   3.50   Prepare for deposition of Defendant Norene Ryan/Vorhis
Nicolas, Elizabeth      05/23/17   5.00   Deposed Defendant Norene Ryan/Vorhis
Nicolas, Elizabeth      05/24/17   3.50   Prepare for deposition of Linda Rowland
Nicolas, Elizabeth      05/24/17   2.00   Deposed Linda Rowland
Nicolas, Elizabeth      05/25/17   1.00   Meet with Gina Kase to prepare for deposition
                     Case 6:15-cv-06760-CJS-MWP Document 29-3 Filed 03/30/18 Page 6 of 7
Nicolas, Elizabeth      05/25/17   4.50   Defended deposition of Gina Kase
Nicolas, Elizabeth      05/25/17   0.50   Meet with Jayla Lombardo to discuss depositions and settlement
Nicolas, Elizabeth      05/25/17   0.70   Meet with Gina Kase to debrief deposition and discuss settlement possibility
Nicolas, Elizabeth      06/15/17   0.10   Draft email to Jayla Lombardo re: recalculation of damages
Nicolas, Elizabeth      06/28/17   0.20   Telephone call with Gina Kase re: settlement and deposition transcript review
Nicolas, Elizabeth      06/29/17   0.10   Telephone call with J Lombardo re: settlement
                        07/04/17   2.00   Review deposition transcripts
                        07/05/17   1.00   Review deposition transcripts
Nicolas, Elizabeth      07/05/17   2.50   Meeting with Gina Kase re: reviewing deposition transcript; making edits and generating
                                          errata sheet
Nicolas, Elizabeth      07/07/17   1.10   Telephone call with Gina Kase re: reviewing Kase deposition transcript; clarifying responses;
                                          discussing settlement
Nicolas, Elizabeth      07/09/17   1.00   Telephone call with Gina Kase re: reviewing deposition transcript
Nicolas, Elizabeth      07/13/17   0.50   Meeting with Gina Kase re: review and signing deposition errata sheet
Nicolas, Elizabeth      07/13/17   0.20   Telephone call with J Lombardo re: settlement and deposition errata sheet and document
                                          requests from deposition
Nicolas, Elizabeth      07/13/17   0.10   Email J Lombardo re: deposition errata sheet
Nicolas, Elizabeth      07/18/17   0.10   Telephone call with Gina Kase re: settlement offer and documents requested from
                                          deposition
Nicolas, Elizabeth      08/18/17   2.50   Legal Research Issue: issues for summary judgment
Nicolas, Elizabeth      08/18/17   0.80   Review defendants' payroll register and response to first request for production
Nicolas, Elizabeth      08/28/17   0.20   Telephone call with Jayla Lombardo re: extension of motion deadlines; settlement discussion

Nicolas, Elizabeth      09/20/17   0.20 Telephone call with Jayla Lombardo re: outstanding discovery requests and settlement

Nicolas, Elizabeth      09/25/17   0.10 Email Jayla Lombardo re: outstanding discovery requests
Nicolas, Elizabeth      10/25/17   0.10 Telephone call with Jayla Lombardo re: extension and outstanding discovery requests that
                                        the defendants have not submitted
Nicolas, Elizabeth      10/27/17   0.70 Meeting with P Dellinger re: legal research and summary judgment strategy
Nicolas, Elizabeth      11/14/17   0.20 Draft letter to Jayla Lombardo re: reviewing discovery responses
Nicolas, Elizabeth      11/14/17   0.10 Email Jayla Lombardo re: reviewing defendants' document responses
Nicolas, Elizabeth      11/14/17   0.40 Review timesheets for work location issues
Nicolas, Elizabeth      11/16/17   0.50 Meeting with PD re: partial summary judgement motion research+ fact gathering
Nicolas, Elizabeth      12/21/17   0.30 Telephone call with Gina Kase re: review of defendants' financial documents + settlement of
                                        case
Nicolas, Elizabeth      12/22/17   0.60 Meeting with Jayla Lombardo re: defendants' financial records; review of outstanding
                                        discovery requests
Nicolas, Elizabeth      01/22/18   0.40 Telephone call with Gina Kase re: defendants' financial records and possibility of settlement

Nicolas, Elizabeth      01/29/18   0.20   Telephone call with Gina Kase re: settlement negotiations
Nicolas, Elizabeth      01/29/18   0.10   Telephone call with Jayla Lombardo re: settlement negotiations
Nicolas, Elizabeth      01/30/18   0.30   Telephone call with Gina Kase re: settlement negotiations
Nicolas, Elizabeth      01/30/18   0.20   Telephone call with Jayla Lombardo re: settlement negotiations
Nicolas, Elizabeth      02/07/18   2.00   Draft Kase settlement agreement
Nicolas, Elizabeth      02/08/18   2.00   Draft Kase settlement agreement
Nicolas, Elizabeth      03/09/18   1.00   Edit Kase settlement agreement
Nicolas, Elizabeth      03/21/18   0.50   Draft joint motion for approval of settlement agreement
Nicolas, Elizabeth      03/23/18   1.50   Draft joint motion for approval of settlement agreement
Nicolas, Elizabeth      03/24/18   4.00   Draft joint motion for approval of settlement agreement
Nicolas, Elizabeth      03/27/18   2.00   Edit and review joint motion for approval of settlement agreement
Nicolas, Elizabeth      03/30/18   3.00   Finalize joint motion documents and exhibits for filing
Koo, Elizabeth          08/17/17   0.50   Legal Research Issue: Summary judgment motion samples and research
                   Case 6:15-cv-06760-CJS-MWP Document 29-3 Filed 03/30/18 Page 7 of 7
Small, Kristin        05/24/17     2.10 Deposition Name: Linda Rowland attended/observed Rowland deposition, took notes,
                                        assisted EN in pointing out unanswered questions etc.
Dellinger, Peter      04/14/17     0.70 Meeting with EN re depositons and process
Dellinger, Peter      04/20/17     0.40 Draft letter to J. Feldman requesting discovery extension
Dellinger, Peter      05/04/17     0.30 Meeting with EN re: depositions and video depos
Dellinger, Peter      05/15/17     0.50 Meeting with EN re: depositions and strategies
Dellinger, Peter      05/22/17     1.00 Deposition preparation of client
Dellinger, Peter      05/23/17     0.50 Depositon preparation
Dellinger, Peter      05/23/17     4.30 Observed deposition of defendant
Dellinger, Peter      05/24/17     0.50 Depositon preparation
Dellinger, Peter      05/24/17     2.00 Attended bookeepeer deposition
Dellinger, Peter      05/24/17     0.50 Debrief deposition with EN and discussed next steps
Dellinger, Peter      05/25/17     0.50 Deposition preparation
Dellinger, Peter      05/25/17     4.00 Attended/defended deposition of client
Dellinger, Peter      05/25/17     0.80 Post depostion meeting with client
Dellinger, Peter      10/27/17     1.00 Legal Research Issue: Research on Rule 36 and deadlines for submission.
Dellinger, Peter      11/16/17     0.60 Meeting with E. Nicolas about proposed MSJ, possible legal obstacles, and plan for next steps

Dellinger, Peter      02/08/18     0.40 Review of settlement agreement, changes made for confession of judgment
Robb, Maggie          05/15/17     0.80 Meeting with E.N. re: deposition preparation
Robb, Maggie          05/16/17     0.40 Meeting with E.N. re: deposition preparation

TOTAL                            293.80
